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                                   Fraud Advisory
FOR IMMEDIATE RELEASE                                                               https://oig.ssa.gov
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                     Inspector General Warns Public About
                     Widespread Social Security Scam Texts
The Inspector General of Social Security, Gail S. Ennis, is warning of a new tactic by government
imposters to reach—and victimize—Americans by phone. The Social Security Administration (SSA)
Office of Inspector has received reports of text messages on personal cell phones that appear to be
coming from SSA. The texts warn about a Social Security number problem and request the recipient call
a number back to resolve it or the agency will pursue legal action.

This appears to be the latest development in continuing widespread scams meant to deceive Americans
into providing money and personal information to scammers. SSA will never send a text asking for a
return call to an unknown number. SSA only sends text messages if you have opted in to receive texts
from SSA and only in limited situations, including the following:
     when you have subscribed with SSA to receive updates and notifications by text; or
     as part of SSA’s enhanced security when accessing your personal my Social Security account.

The Social Security Office of the Inspector General wants the public to know Social Security will never:
    threaten you with arrest or other legal action unless you immediately pay a fine or fee;
    promise a benefit increase or other assistance in exchange for payment;
    require payment by retail gift card, wire transfer, internet currency, or by mailing cash; or
    send official letters or reports containing your personal information via email.

If you owe money to Social Security, the agency will mail you a letter with payment options and appeal
rights. You should never pay a government fee or fine using retail gift cards, cash, internet currency,
wire transfers, or pre-paid debit cards.

Inspector General Ennis has designated this Thursday, March 5, 2020, as National “Slam the Scam”
Day, to help educate every American about these insidious scams. You can learn more at
https://oig.ssa.gov/scam. Inspector General Ennis urges the public to be very cautious when receiving
unsolicited calls from any government agency, and to discuss any major financial decision with trusted
family or friends.

If you receive a call, text, or email that you believe to be suspicious, about a problem with your Social
Security number or account, do not respond or engage with the caller or sender. Report Social Security
phone and text scams through our dedicated online form at https://oig.ssa.gov. Please share scam
awareness information with friends and family, to help spread awareness about phone scams.

Members of the press may make inquiries to Social Security OIG at oig.dcom@ssa.gov.
